                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI

UNITED STATES OF AMERICA

                             Plaintiff,

-vs-                                                              Criminal Action No.
                                                                  22-00178-01-CR-W-RK
DERIC A. CANADY,

                        Defendant.
_____________________________________

                   MEMORANDUM OF MATTERS DISCUSSED AND
                   ACTION TAKEN AT PRETRIAL CONFERENCE

The following matters were discussed and action taken during the pretrial conference:

PENDING CHARGE: Felon in Possession of a Firearm in violation of 18 U.S.C. §§ 922(g)(1)
and 924(a)(2)

TRIAL COUNSEL:
      Government: Bradley Kavanaugh
           Case Agent: Aaron Wright, ATF
      Defense: Travis Poindexter

OUTSTANDING MOTIONS: None

ANTICIPATED MOTIONS:
     Government: None
     Defense: Motions in limine

TRIAL WITNESSES:
     Government: 5 with stipulations; 10 without stipulations
     Defense: 3 witnesses, including Defendant who       ( ) will
                                                         ( x ) may
                                                         ( ) will not testify
TRIAL EXHIBITS:
     Government: 15-20 exhibits
     Defense: 5 exhibits

DEFENSES:
    ( ) defense of general denial
    ( x ) defenses of general denial and a legal defense that the Government can not prove
          Defendant’s prior conviction

POSSIBLE DISPOSITION:
     ( ) Definitely for trial                      ( ) Possibly for trial

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       ( ) Motion to continue to be filed          ( x ) Change of plea anticipated

TRIAL TIME: 2.5 days
      Government’s case including jury selection: 2 days
      Defense case: .5 days

STIPULATIONS:
     ( ) not likely
     ( ) not appropriate
     ( ) possible as to:
          ( ) chain of custody
          ( ) chemist’s reports
          ( x ) prior felony conviction
          ( x ) interstate nexus of firearm
          ( ) other: ______________________________________________________

UNUSUAL QUESTIONS OF LAW: None


FILING DEADLINES: 3/4/2024

       Witness and Exhibit Lists: 3/4/2024
       Government: 3/4/2024
       Defense: 3/4/2024
       Counsel are requested to list witnesses in alphabetical order on their witness list.

       Exhibit Index, Voir Dire, Jury Instructions: 3/4/2024
       Jury instructions must comply with Local Rule 51.1

       Motions in Limine: 3/4/2024


TRIAL SETTING: Criminal jury trial docket commencing 3/18/2024
     Please note: Any conflicting settings on trial docket? None

OTHER:
    ( )       A _____________________-speaking interpreter is required.
    ( )       Other assistive devices:

       IT IS SO ORDERED.

                                                           /s/ Jill A. Morris
                                                           JILL A. MORRIS
                                                           United States Magistrate Judge


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